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            EXHIBIT 4
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                                IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TENNESSEE
                                          EASTERN DIVISION

   CONSOLIDATED INDUSTRIES, LLC                        )
   d/b/a WEATHER KING PORTABLE                         )
   BUILDINGS,                                          )
                                                       )
               Plaintiff,                              )
                                                       )   Civil Action No. l:22-cv-01230
   v.                                                  )
                                                       )
   JESSE A. MAUPIN, BARRY D.                           )
   HARRELL, ADRIAN S. HARROD,                          )
   LOGAN C. FEAGIN, STEPHANIE L.                       )
   GILLESPIE, RYAN E. BROWN, DANIEL                    )
   J. HERSHBERGER, BRIAN L. LASSEN,                    )
   ALEYNA LASSEN, and AMERICAN                         )
   BARN CO., LLC,                                      )
                                                       )
               Defendants.                             )



                  LOGAN C. FEAGIN’S RESPONSES TO PLAINTIFF’S
         FIRST SET OF INTERROGATORIES, REQUESTS FOR PRODUCTION OF
                   DOCUMENTS, AND REQUESTS FOR ADMISSION

          Pursuant to Fed. R. Civ. P. 26, 33, 34, and 36, Logan C. Feagin by and through his

  attorneys, states the following responses.

                                          INTERROGATORIES

           1.        Identify each business enterprise that has been engaged in the Portable Buildings

  Industry with which you played any role in planning its creation or formation and, with respect to

  each such enterprise, identify: (a) your specific role(s) relating to the creation/formation; (b) the

  dates in which you were involved in the planning; and (c) all other individuals and entities who

  were involved in planning the creation/formation.

          RESPONSE:



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   than Weather King) and, with respect to each such communication, identify: (a) the substance of

   the communication; (b) all parties to the communication; (c) the date of the communication; and

   (d) the mode of the communication (z'.e., telephonic conversation, email, text message, etc.).

           RESPONSE:

          None.

           4.     Identify each communication you had between January 1, 2021, and through the

   day of the termination of your employment with Weather King with any person then-employed by

   Weather King relating to that person’s potential departure from Weather King and/or your

   potential departure from Weather King and, with respect to each such communication: (a) describe

   in detail the substance of the communication; (b) identify all parties to the communication; (c)

   identify the date of the communication; and (d) identify the mode of the communication (z’.e.,

   telephonic conversation, email, text message, etc.).

          RESPONSE:

          Feagin objects to this interrogatory as unduly broad, overly burdensome, and not

  proportional to the needs of the case, nor relevant to any issue in the case. To collect all of this

   information would impose an unnecessary burden on Feagin. Subject to and without waiving those

  objections, Feagin states as follows: I recall speaking to someone at Weather King about a job

   offer. No other communications.

          5.      Identify each communication you had between January 1, 2021, and the day of the

  termination of your employment from Weather King with any person or entity who, at the time of

  the communication, was a Weather King dealer, driver, customer, lender, landlord, rental

  company, or other business partner relating to your potential departure from Weather King and,

  with respect to each such communication: (a) describe in detail the substance of the

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   of access or obtainment; (c) the circumstances in which you shared the property with anyone else,

   including but not limited to the identity of all such person and the date(s); and (d) the circumstances

   in which you otherwise made use of the property.

          RESPONSE;

          None.

           9.     Identify all Weather King property, whether tangible or intelligible (including but

   not limited to financial information and inventory count information) to which you had authorized

   access but that you shared with a third-party or otherwise made use of the property for any purpose

   other than the furtherance of Weather King’s business and, with respect to each such item, identify:

   (a) the specific property; (b) the circumstances in which you shared the property with anyone else,

   including but not limited to the identity of all such person and the date(s); and (c) the circumstances

   in which you made use of the property for any purpose other than the furtherance of Weather

  King’s business.

          RESPONSE:

          None.

           10.    Identify all email accounts, cell phone numbers (and providers), messaging

  services, Google drive accounts, Dropbox accounts, and any other cloud-based account that you

  have used at any time since January 1, 2022, through the present.

          RESPONSE:

          Feagin objects to this interrogatory as not being proportional to the needs of the case.

          11.     Identify each device in your possession, custody, or control, including but not

  limited to laptop computers, desktop computers, cell phones (including number and provider),




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                          •:'• ••/.      12. '.' For each--lawsuit, bankruptcy proceeding, criminal proceeding, or administrative .. ■

                       proceeding, including divorce procrxdin^.td whidi.you'have'been a party, state: (a) the court or.
                          ’              ■'■ 5’    J;.                                          ‘                 :'               ' ■■'                                   ..        .             '                   -5 . ^*4r

                       agency in which said proceeding was instituted, the names of the; parties to the proceeding, the.-1,

                       docket number of said proceeding,.the date the proceeding was fiied.andthe datetheprotxeding
                      m                             '        ■■ ■■             . . ”                     V -; . F' : •: *              s'             -r ;    :                          '

                       vvM f mal ly tenrurtated;: (b) the nature of the proceeding; including a des criptionofthe ciaimsand'

                       defenses, if applicable, and(c)tliemanner in which the procecdingwas resolved (for example, by

                      settlement, by court order). X}1'-••c'-r.                                                           - V-                    V:,. t-'V":\                                            i i,     ' S
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                  r ,.h RESPONSE;                                                                                                               :J         ' M
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                                        Feagin objects to this interrogatory as not being proportional to the needs ofthe^case.
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                  1                                          ‘                                                                         '        »*•                 S. V        ..               jwi .    . X. .



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           RESPONSE:

          None.

           6.     All correspondence and other documents exchanged with any former Weather King

  employees between January 1, 2022, and July 1, 2022.

          RESPONSE:

          None.

          7.      All correspondence and other documents exchanged with any then-current Weather

  King employees after January 1, 2022.

          RESPONSE:

          None.

          8.      All correspondence and other documents exchanged with any then-current Weather

  King dealers (including but not limited to employees and agents of those dealers) between January

   1,2022, and July 1,2022.

          RESPONSE:

          None.

          9.      All correspondence and other documents exchanged with any then-current Weather

  King builders (including but not limited to employees and agents of those builders) between

  January 1, 2022, and July 1, 2022.

          RESPONSE:

          None.

          10.     All correspondence and other documents exchanged with any then-current Weather

  King customers (including but not limited to employees and agents of those customers) between

  January 1, 2022, and July 1, 2022.

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           RESPONSE:

          None.

           11.    All correspondence and other documents exchanged with any then-current Weather

  King drivers (including but not limited to employees and agents of those drivers) between January

   1,2022, and July 1,2022.

          RESPONSE:

          None.

           12.    All correspondence and other documents exchanged with any Portable Buildings

  Industry rental companies and/or rental companies being formed (including but not limited to

  employees and agents of those entities) between January 1, 2022, and July 1, 2022.

          RESPONSE:

          None.

           13.    All correspondence and other documents exchanged with BPS, LLC, BPS Rentals,

  LLC, Keith Priestley, Jerry Sawyer or Troy Buttrey between July 1, 2021, and July 1, 2022.

          RESPONSE:

          None.

           14.    All non-privileged correspondence and other documents related to:

          (a) any of the Defendants’ departure from Weather King;

          (b) any of the Defendants’ communications with any Weather King employees about the

          possibility of leaving Weather King or joining ABCO;

          (c) any of the Defendants’ communications with any Weather King builders, dealers,

          drivers, rental companies, or contractors, about the possibility of doing business with

          ABCO or ceasing doing business with Weather King;

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           (d) any claims or potential claims made by Weather King against any of the Defendants;

           (e) any of the Defendants’ possession of or use of any Weather King property; or

           (f) derogatory remarks made by any of the Defendants relating to Weather King;

          RESPONSE:

          None.

           15.    All correspondence and other documents exchanged with any person or entity

  related to the leasing or potential leasing of any property located in Arizona or New Mexico.

          RESPONSE:

          None.

           16.    All emails and attachments sent from your Weather King company email address

  to any personal email address since January 1, 2021.

          RESPONSE:

          None.

           17.    All correspondence and other documents referencing or relating to any Weather

  King drawings, blueprints, or other engineering plans, including but not limited to plans prepared

  by Kevin Nolan, P.E.

          RESPONSE:

          None.

           18.    All documents relating to any sales of units using any Weather King drawings,

  blueprints, or other plans, including but not limited to plans prepared by Kevin Nolan, P.E.

          RESPONSE:

          None.




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           RESPONSE:

          None.

           24.    All documents evidencing distributions, salary, wages, bonuses, commissions, or

  other compensation paid or accrued to you by any entity in the Portable Buildings Industry, other

  than Weather King, from January 1,2021, through the date of response.

          RESPONSE:

          Feagin objects to this document request as not being proportional to the needs of the case.

          25.     All agreements between you and any of the other Defendants.

          RESPONSE:

          None.

          26.     All agreements between you and any dealers, builders, lenders, investors, or rental

  companies in the Portable Buildings Industry.

          RESPONSE:

          None.

          27.     All photographs, video, and/or audio recordings of Weather King property and/or

  current or former Weather King employees or officers.

          RESPONSE:

          Feagin objects to this document request as not being proportional to the needs of the case.

          28.     All documents reflecting notes, diaries, journals, expense records, day planners,

  calendars, and/or other record(s) maintained by you that record, refer, or otherwise relate to your

  activities, including, but not limited to any appointment, meeting, interview, placement, or other

  business activities in the Portable Buildings Industry from January 1, 2022, through July 1, 2022.

          RESPONSE:

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           None.

           29.     All correspondence and/or other documents which relate to or refer in any way to

   your decision to become affiliated with a business enterprise in the Portable Buildings Industry

   other than Weather King or to depart from Weather King.

           RESPONSE:

           None.

           30.     All phone records from January 1,2022, through July 1,2022, related to any device

   that you have used during that time period.

           RESPONSE:

           Feagin objects to this document request as not being proportional to the needs of the case.

           31.     All correspondence and other documents exchanged between you and anyone else

   related to Weather King’s toll-free telephone number or Caller ID.

           RESPONSE:

           None.

           32.     All documents supporting your “[m]istake of fact” affirmative defense.

           RESPONSE:

           None.

           33.     All documents supporting or relating to any other defenses you intend to assert

   against Plaintiffs claims.

           RESPONSE:

           None.

           34.     All documents referenced in your responses to Plaintiffs interrogatories and/or

   upon which you relied in responding to Plaintiffs interrogatories.

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